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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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       KRISTOFFER R. G. TIZON, an            ) Case No. 2:23-cv-05667-WLH-PDx
  10   individual,                           )
                                             ) ORDER RE: STIPULATION TO
  11                           Plaintiff,    ) REMAND THIS ACTION TO STATE
                                             ) COURT [13]
  12         vs.                             )
                                             ) Action Date: November 14, 2022
  13   AMERICAN AIRLINES, INC., a            ) Trial Date: Not Yet Set
       Delaware corporation; and DOES 1      )
  14   through 10, inclusive                 )
                                             )
  15                           Defendant(s). )
  16         Having considered the Stipulation between Plaintiff Kristoffer R. G. Tizon and
  17   Defendant American Airlines Group, Inc., dba American Airlines, erroneously sued
  18   as American Airlines, Inc., to remand this action to State Court and good cause
  19   shown, it is hereby ordered that this action be remanded to the Superior Court of the
  20   State of California for the County of Los Angeles and that each party shall bear its
  21   own attorneys’ fees and costs incurred in connection with the removal of this action
  22   to federal court and the remand.
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  24         IT IS SO ORDERED.
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  26   Dated: August 22, 2023                         ____________________
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                                                      ____________________________
  27                                                  H ON. WESLEY
                                                      HON.  WESLEY L. HSU
                                                      UNITED STATES DISTRICT JUDGE
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           ORDER RE: JOINT STIPULATION TO REMAND THIS ACTION TO STATE COURT
